               Case 22-11023-amc                            Doc 5       Filed 04/21/22 Entered 04/21/22 15:15:25                                         Desc Main
                                                                        Document      Page 1 of 3
                                                                                                                       Check one box only as directed in this form and in
Fill in this information to identify your case:
                                                                                                                       Form 122A-1Supp:

Debtor 1           Juanita                                          Godshall                                              1.     There is no presumption of abuse. 
                    First Name                Middle Name           Last Name
                                                                                                                       
Debtor 2                                                                                                                  2.     The calculation to determine if a presumption
(Spouse, if filing) First Name                Middle Name           Last Name
                                                                                                                                  of abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Eastern                     District of Pennsylvania                                      Means Test Calculation (Official Form 122A–
                                                                                (State)                                           2). 
                                                                                                                       
Case number
                     (If known)                                                                                           3.     The Means Test does not apply now because of
                                                                                                                                  qualified military service but it could apply later.
                                                                                                                               Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                              04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily
consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under 707(b)(2)
(Official Form 122A-1Supp) with this form.

Part 1:            Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

                 Not married. Fill out Column A, lines 2-11.
                 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                 Married and your spouse is NOT filing with you. You and your spouse are:
                           Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                            under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                            spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your
monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income
amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have
nothing to report for any line, write $0 in the space.
                                                                                                                         Column A                      Column B
                                                                                                                                                   Debtor 2 or non-
                                                                                                                         Debtor 1
                                                                                                                                                    filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions
   (before all payroll deductions).                                                                                $             3,556.48     $                    0.00
3. Alimony and maintenance payments. Do not include payments from a
   spouse if Column B is filled in.                                                                                $                  0.00    $                    0.00
4. All amounts from any source which are regularly paid for household
   expenses of you or your dependents, including child support. Include
   regular contributions from an unmarried partner, members of your household,
   your dependents, parents, and roommates. Include regular contributions from a
   spouse only if Column B is not filled in. Do not include payments you listed on
   line 3.                                                                                                                            0.00                         0.00
5. Net income from operating a business, profession, or farm
                                                                        Debtor 1          Debtor 2
     Gross receipts (before all deductions)              $                         0.00 $            0.00
     Ordinary and necessary operating expenses         - $                         0.00 $            0.00
     Net monthly income from a business, profession, or                                                     Copy
     farm                                                $                         0.00 $            0.00 here                       0.00                         0.00
6. Net income from rental and other real property
                                                                        Debtor 1          Debtor 2
     Gross receipts (before all deductions)                             $          0.00 $            0.00
     Ordinary and necessary operating expenses                      -   $          0.00 $            0.00
     Net monthly income from rental and other real                                                          Copy
     property                                                           $          0.00 $            0.00 here                       0.00                         0.00
7. Interest, dividends, and royalties                                                                              $                  0.00    $                    0.00

Official Form 122A-1                                          Chapter 7 Statement of Your Current Monthly Income                                                                page 1
           Case 22-11023-amc                         Doc 5          Filed 04/21/22 Entered 04/21/22 15:15:25                                              Desc Main
Debtor 1      Juanita                                               Document
                                                                    Godshall      Page 2 of 3 Case number (if known)
              First Name              Middle Name                   Last Name

                                                                                                              Column A                  Column B
                                                                                                                                        Debtor 2 or
                                                                                                               Debtor 1               non-filing spouse

8. Unemployment compensation                                                                           $                0.00      $               0.00
   Do not enter the amount if you contend that the amount received was a benefit
   under the Social Security Act. Instead, list it here:............................ 
   For you ................................................................... $       0.00
   For your spouse .....................................................       $       0.00

9. Pension or retirement income. Do not include any amount received that was
   a benefit under the Social Security Act. Also, except as stated in the next
   sentence, do not include any compensation, pension, pay, annuity, or
   allowance paid by the United States Government in connection with a
   disability, combat-related injury or disability, or death of a member of the
   uniformed services. If you received any retired pay paid under chapter 61 of
   title 10, then include that pay only to the extent that it does not exceed the
   amount of retired pay to which you would otherwise be entitled if retired under
   any provision of title 10 other than chapter 61 of that title.                                      $                0.00      $               0.00

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity, or
    allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page and
    put the total below.

                                                                                                       $                0.00      $               0.00

                                                                                                       $                0.00      $               0.00

            Total amounts from separate pages, if any.                                               +$                 0.00      +               0.00

11. Calculate your total current monthly income. Add lines 2 through 10 for
    each column. Then add the total for Column A to the total for Column B.                            $           3,556.48      +$               0.00      =$           3,556.48
                                                                                                                                                                  Total current
                                                                                                                                                                  monthly income
Part 2:       Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:
    12a.    Copy your total current monthly income from line 11. .........................................................     Copy line 11 here     12a. $            3,556.48
            Multiply by 12 (the number of months in a year).                                                                                                                X 12

    12b.    The result is your annual income for this part of the form....................................................                            12b. $           42,677.76

13. Calculate the median family income that applies to you. Follow these steps:

            Fill in the state in which you live.                                PA

            Fill in the number of people in your household.                     1


            Fill in the median family income for your state and size of household....................................                                     13. $        60,640.00
            To find a list of applicable median income amounts, go online using the link specified in the separate instructions
            for this form. This list may also be available at the bankruptcy clerk’s office.
14. How do the lines compare?
    14a.   Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is
                no presumption of abuse. Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b.   Line 12b is more than line 13. On the top of page 1, check box 2, The presumption
                of abuse is determined by Form 122A-2. Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
Case 22-11023-amc   Doc 5   Filed 04/21/22 Entered 04/21/22 15:15:25   Desc Main
                            Document      Page 3 of 3
